      Case: 1:16-cv-00176-GHD-RP Doc #: 297 Filed: 10/09/18 1 of 2 PageID #: 2760




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF
                            MISSISSIPPI, ABERDEEN DIVISION

Paul N. Royal as Administrator Ad Litem for the Estate of
Ricky Javentia Ball, deceased, and on behalf of
all wrongful death beneficiaries                                                      PLAINTIFF

vs.                                                                     NO. 1:16cv176-GHD-RP

Canyon Boykin, et al                                                              DEFENDANTS




                               Unopposed Motion for Dismissal



       Defendant City of Columbus, Mississippi moves that the remaining Defendant, all

remaining claims, and this cause be dismissed with prejudice with each party responsible for

paying their own fees and costs associated with this litigation. Plaintiff and Defendant City are

the only remaining parties. Plaintiff is in agreement with this Motion and the dismissal with

prejudice.

                So moved this the 9th day of October, 2018.

                                         City of Columbus, Mississippi, Defendant,

                                         /s/ Katherine S. Kerby

                                         Katherine S. Kerby, MSB # 3584

Agreed:
/s/Andrew C. Clarke, Esq.
Andrew C. Clarke, MS BAR #9491
Attorney for Plaintiff
    Case: 1:16-cv-00176-GHD-RP Doc #: 297 Filed: 10/09/18 2 of 2 PageID #: 2761




                              CERTIFICATE OF SERVICE


       I, Katherine S. Kerby, attorney of record for Defendant City of Columbus, Mississippi do

certify that I have this day caused to be served via the ECF system by filing the foregoing motion

 with the Clerk of the Court using the ECF System which transmitted notice of filing via the

ECF system to the following: Andrew C. Clarke, Esq., Howard Manis, Esq., Errick D. Simmons,

Esq., Derrick Simmons, Esq., Jeffery P. Reynolds, Esq., and Patricia Herlihy , Esq.


                      Certified, this the 9th day of October, 2018.

                                                            / s/ Katherine S. Kerby


Of Counsel: Kerby Law Firm, LLC.
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